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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1966V
                                         UNPUBLISHED


    KATHERINE P. CARTER,                                      Chief Special Master Corcoran

                         Petitioner,                          Filed: December 16, 2019
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Kyle Monroe Moore, Law Office of Kyle M. Moore, LLC, Gainesville, GA, for petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for respondent.

                                     RULING ON ENTITLEMENT1

        On December 21, 2018, Katherine P. Carter filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered an injury, described as
adhesive capsulitis or frozen shoulder, which meets the Table definition for a shoulder
injury related to vaccine administration (“SIRVA”) after receiving the seasonal influenza
vaccination on October 18, 2017. Petition at 1, ¶¶ 2, 12. Petitioner further alleges that
she received the vaccination in the United States, that she suffered the residual effects
of her SIRVA for at least six months, and that she has not filed a civil action or received
compensation for her injury, alleged as vaccine caused. Id. at ¶¶ 2, 9-11. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On December 11, 2019, Respondent filed his Rule 4(c) report in which he
concedes that Petitioner is entitled to compensation in this case. Respondent’s Rule
4(c) Report at 1. Specifically, Respondent “concluded that petitioner suffered a Table
SIRVA.” Id. at 4. Respondent further agrees that “based on the current record,
petitioner has satisfied all legal prerequisites for compensation under the Act.” Id. at 5.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Brian H. Corcoran
                                   Brian H. Corcoran
                                   Chief Special Master




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